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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

DENEISE INGRAM, as Legal Guardian            )         CASE NO. 8:09-cv-110
for KAREN CHANDLER,                          )
                                             )
       Plaintiff,                            )
                                             )        ORDER FOR DISMISSAL
                      v.                     )
                                             )
COVENANT CARE MIDWEST, INC.,                 )
d/b/a NEBRASKA SKILLED NURSING               )
AND REHABILITATION, and                      )
COVENANT CARE, INC.                          )
                                             )
       Defendants.                           )


       NOW ON this 25th day of October, 2010, this matter came on before the Court upon the

parties’ Stipulation for Dismissal. The Court being fully advised in the premises finds that an

Order for Dismissal should be granted.

       NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that

an Order of Dismissal is entered with prejudice, each party to pay their own attorney fees and

costs, complete record waived.

                                             BY THE COURT:



                                             s/ Joseph F. Bataillon
                                             Chief District Judge

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